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                UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF LOUISIANA


STANLEY P. BAUDIN,                     )
                      Plaintiff,       )
                                       )
                                       )
     v.                                    Civil Action No.: 18-1063
                                       )
                                       )
ASTRAZENECA                                JUDGE SHELLY DICK
PHARMACEUTICALS LP;                    )

ASTRAZENECA LP; and MERCK              ) MAGISTRATE JUDGE ERIN WILDER-DOOM
SHARP & DOHME CORPORATION,             )
                                       )
                      Defendants.      )
                                       )
                                       )
                                       )




                                                                             EXHIBIT 12


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           PLAINTIFF’S AMENDED DESIGNATION OF EXPERT WITNESSES


       Pursuant to the Federal Rules of Civil Procedure 26 (a)(2), Agreement by the Parties
and the Court’s scheduling order in this case (as amended), Plaintiff Stanley P. Baudin hereby
discloses the following witnesses that Plaintiff expects to provide expert testimony at trial:


       Retained Experts:


       1. Helge L. Waldum, M.D., Ph.D.
          Head of Department of Gastroenterology and Hepatology
          St. Olavs Hospital
          Trondheim, Norway


       Dr. Helge L. Waldum is a medical doctor licensed to practice in Norway and is a
professor at the Department of Cancer Research and Molecular Medicine at Norwegian
University of Science and Technology, Trondheim, Norway. Dr. Waldum’s credentials are
summarized in his curriculum vitae and submitted within the electronic zip file appended
hereto as Exhibit A. His anticipated trial testimony and opinions, compensation and reliance
list are further submitted within the electronic zip file appended as Exhibit A. The above
reference report and disclosures were served electronically to defense counsel, but not filed
with the Court. (Dr. Waldum has never testified at deposition or trial).


       2. Alfred I. Neugut, M.D., Ph.D., M.P.H.
          Department of Epidemiology
          Mailman School of Public Health
          Columbia University
          722 W. 168th Street, Room 725
          New York, NY 10032


       Dr. Alfred I. Neugut is an epidemiologist and medical oncologist with a particular
interest in gastrointestinal tract cancers, colorectal cancers and gastric cancers. Dr. Neugut’s
credentials are summarized in his curriculum vitae and submitted within the electronic zip file
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appended hereto as Exhibit B. His anticipated trial testimony and opinions, testimonial
history, compensation and reliance list are further submitted within the electronic zip file
appended as Exhibit B. The above reference report and disclosures were served electronically
to defense counsel, but not filed with the Court.


       3. William JM Hrushesky, MD, FACP, ABIM IM, MO
          1012 Gregg Street
          Columbia, SC 29201


           Dr. William JM Hrushesky is a medical oncologist and professor at the University of
South Carolina. Dr. Hrushesky’s credentials are summarized in his curriculum vitae and report
submitted within the electronic zip file appended hereto as Exhibit C. His anticipated trial
testimony and opinions, compensation and reliance list are further submitted within the
electronic zip file appended as Exhibit C. The above reference report and disclosures were
served electronically to defense counsel, but not filed with the Court. (Dr. Hrushesky has never
testified at deposition or trial).


       4. Joshua Sharlin, Ph.D.
          Sharlin Consulting
          Washington, D.C.

           Dr. Joshua Sharlin is an FDA regulatory compliance expert. Dr. Sharlin’s
credentials are summarized in his curriculum vitae and submitted within the electronic zip file
appended hereto as Exhibit D. His anticipated trial testimony and opinions, testimonial
history, compensation and reliance list are further submitted within the electronic zip file
appended as Exhibit D. The above reference report and disclosures have been served
electronically to defense counsel, but not filed with the Court.


       5. Nacer E. Abrouk, Ph.D.
          Clinical Trials Innovations, LLC
          Mountain View, CA 94043
                                                                                               3
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            Dr. Nacer E. Abrouk, Ph.D. is a biostatistician who consults and performs
biostatistical analyses for the pharmaceutical industry. Dr. Abrouk’s credentials are
summarized in his curriculum vitae and submitted within the electronic zip file appended
hereto as Exhibit E. His anticipated trial testimony and opinions, compensation and reliance
list are further submitted within the electronic zip file appended as Exhibit E. The above
reference report and disclosures have been served electronically to defense counsel, but not
filed with the Court. (Dr. Abrouk has never testified at deposition or trial).


       6.
       6. Patricia Mjnes, M.D. Ph.D.
       St. Olav’s Hospital
       Trondheim, Norway


       Dr. Patricia Mjønes, M.D. Ph.D. is a medical doctor and pathologist specializing in
gastrointestinal pathology. Dr. Mjønes’ credentials are summarized in her curriculum vitae
which was marked and attached as an exhibit to her deposition. Dr. Mjønes’ anticipated trial
testimony and opinions are set forth in and will be limited to her deposition testimony provided
on March 21, 2022 as well as her opinions set forth in her report attached to Dr. Waldum’s
expert report at Appendix A . Dr. Mjønes’ deposition testimony also includes her
compensation and reliance list. Dr. Mjønes will not appear live at trial. The above referenced
report and disclosures have been served electronically to defense counsel, but not filed with the
Court. (Dr. Mjønes has never testified at deposition or at trial in any other matter).


       Non-Retained Testifying Experts:
       The below listed non-retained testifying experts, if called to testify, may testify live, by
videotape, or through affidavit, as to the cause and extent of Plaintiff’s medical condition,
injuries, Plaintiff’s past and/or future medical treatment, diagnosis and/or prognosis. These
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witnesses may also testify as to the authenticity and matters contained in the medical records
and/or depositions of healthcare providers taken in this matter. They may further testify as to
the reasonableness of the medical bills and the customary cost of future treatment. Also, the
staff, personnel, and custodians of records of the below listed non-retained experts, if called to
testify, may testify as to the manner in which such records are recorded, made and kept and
who made the entries. The general substance of their mental impressions and opinions are
contained in their respective records and/or depositions taken in this matter. Unless otherwise
stated in their deposition testimony or respective records, these witnesses will not offer
testimony that proton pump inhibitors caused or contributed to Plaintiff's development of a
gastric adenocarcinoma. In addition, they may testify as to any conversations had with the
representatives, employees or agents of the Defendants. Plaintiff would also refer Defendants
to any and all depositions and their exhibits taken in this matter. Pursuant to Rule 26(a)(2)(C),
Plaintiff is excused from furnishing expert reports of the following treating physicians:


       Brian Gremillion, MD
       Our Lady of the Lake Physician Group Picardy
       8119 Picardy Avenue
       Baton Rouge, LA 70809

       Curtis Chastain, MD
       Our Lady of the Lake Physician Group Men’s Health
       7777 Hennessy Boulevard
       Suite 101
       Baton Rouge, LA 70808

       Erin Thibault, MD
       Diagnostic Pathology Services
       725 Glenwood Avenue
       Suite E-888
       Chattanooga, TN 37404

       George McClelland, MD
       Louisiana Endoscopy Center
       9103 Jefferson Highway
       Baton Rouge, LA 70809
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       John Tabor, MD
       Baton Rouge General Advanced Robotics Institute
       8585 Picardy Avenue
       Suite 318A
       Baton Rouge, LA 70809

       Jon Traxler, MD
       Louisiana Ear, Nose, Throat & Sinus Specialty Group
       6110 Main Street
       Suite D
       Zachary, LA 70791

       Ryan Chauvin, MD
       Gastroenterology Associates
       9103 Jefferson Highway
       Baton Rouge, LA 70809

       Todd Genre, NP
       Our Lady of the Lake Physician Group Men’s Health
       7777 Hennessy Boulevard
       Suite 101
       Baton Rouge, LA 70808

       Kasey Gora, P.A.
       Our Lady of the Lakes Surgeon Group – Colorectal Clinic
       9103 Jefferson Hwy.
       Baton Rouge, LA 70809

       Kelly R. Finan, M.D.
       Our Lady of the Lakes Surgeon Group – Colorectal Clinic
       7777 Hennessy Blvd.
       Suite 206
       Baton Rouge, LA 70808

       Plaintiff reserves the right to supplement and amend the opinions of the aforementioned
experts pending review of additional materials disclosed during discovery in this case.
Plaintiff expressly reserves the right to have the aforementioned experts provide rebuttal
opinions and/or to identify additional experts in rebuttal, if the need arises.
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Dated: 1/144/12/2022             Respectfully Submitted,

                                 /s/ Christopher L. Coffin
                                 Christopher L. Coffin (LA Bar # 27902)
                                 Evan P. Fontenot (LA Bar # 37685)
                                 PENDLEY, BAUDIN & COFFIN, LLP
                                 1100 Poydras Street, Suite 2505
                                 New Orleans, LA 70163
                                 Tel. 504-355-0086
                                 Fax: 504-523-0699
                                 ccoffin@pbclawfirm.com
                                 efontenot@pbclawfirm.com

                                 /s/ John M. Restaino, Jr.
                                 John M. Restaino, Jr. (CA 268382)
                                 (Admitted Pro Hac Vice)
                                 DALIMONTE RUEB STOLLER LLP
                                 5790 Fleet Street, Suite 200
                                 Carlsbad, CA 92008-4703
                                 Telephone: (833) 443-7529
                                 restaino@drlawllp.com

                                 /s/ John A. Dalimonte
                                 John A. Dalimonte (MA 554554)
                                 (Admitted Pro Hac Vice)
                                 DALIMONTE RUEB STOLLER LLP
                                 7 State Street, Suite 100
                                 Boston, MA 02109
                                 Telephone: (833) 443-7529
                                 Fax: (855) 203-2035
                                 john@drlawllp.com


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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 14th12th day of JanuaryApril, 2022, I electronically

served the foregoing document to all counsel of record.


/s/ John A. DalimonteMichael E. Gallant




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